Case 1:15-cr-00213-SJ Document 126 Filed 08/14/19 Page 1 of 3 PageID #: 719




               UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF NEW YORK


               UNITED STATES OF AMERICA,

                                                               I5-CR-213(SJ)

                              V.

                                                              MEMORANDUM
               NOELLE VELENTZAS and ASIA                      AND ORDER
               SIDDIQUI,
                      Also known as "Najma Samaa''
                      And "Murdiyyah,"
                                                Defendants.


               APPEARANCES:


               RICHARD P. DONOGUE
               UNITED STATES ATTORNEY
               271 Cadman Plaza East
               Brooklyn, NY 11201
               By:    Jennifer Sasso
                      Douglas Pravda
                      Craig Heeren
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               Attorneysfor the Government

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               New York, NY 10279
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               CONSTITUTIONAL LAW CENTER FOR
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               By:    Charles D. Swift
               Attorneyfor Asia Siddiqui
Case 1:15-cr-00213-SJ Document 126 Filed 08/14/19 Page 2 of 3 PageID #: 720




               LINDA GAIL MORENO
               P.O. Box 10985
               Tampa, FL 33679
               Attorneyfor Asia Siddiqui

               JOHNSON,U.S.D.J.:


                       On August 2,2019, Counselor Linda Moreno, attorney for

               Defendant Asia Siddiqui, filed a motion to continue the trial scheduled to

               commence on October 15, 2019, citing a scheduling conflict. Counselor

               Moreno represented that she was scheduled for a trial set to begin on

               September 9, 2019 in the United States District Court for the Central

               Division of Utah. The Utah trial was initially scheduled for July 29, 2019;

               however, it was rescheduled due to a number of last-minute guilty pleas

               from four codefendants. She further represented that the trial was set to run

               for six weeks. See Dkt. No. 123.

                       1 have spoken to the Honorable Jill Parish, who is presiding over the

               conflicting Utah trial. Judge Parish informed me that the primary defendant

               is ably represented by Mark Geragos, lead counsel on a team offour

               attorneys, including Counselor Moreno. Judge Parish anticipates the trial,

               originally scheduled for 12 weeks, will be fewer than six weeks. Given the

               facts that the case in this District is four years old with both Defendants

               remaining in custody, the trial in this case was scheduled in May 2019, and

               Judge Parish's prediction that the Utah case will not go beyond October 18,
    Case 1:15-cr-00213-SJ Document 126 Filed 08/14/19 Page 3 of 3 PageID #: 721




                   2019, this Court will adhere to the regular trial schedule. Counselor Moreno
                   is required to be present. Accordingly, Defendant's motion to continue is

                  DENIED (Dkt. No. 123).


                  SO ORDERED.

                  Dated: August 13,2019
                  Brooklyn, New York                      Sterling Johnson, Jr. U.S.D.J




P-049
